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11
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12

13                                  UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15

16   XimpleWare Corp., California                   Case No. 13-cv-05161-PSG
     Corporation
17                                                  DEFENDANTS PACIFIC LIFE INS. CO.;
                       Plaintiff,                   METROPOLITAN LIFE INS. CO.; THE
18                                                  PRUDENTIAL INS. CO. OF AMERICA;
            v.                                      WELLMARK, INC. AND AVIVA USA
19                                                  CORP’S NOTICE OF MOTION AND
     Versata Software, Inc. f/k/a Trilogy           MOTION TO DISMISS PLAINTIFF
20   Software, Inc.; Trilogy Development            XIMPLEWARE CORP’S CLAIMS OF
     Group, Inc.; Ameriprise Financial, Inc.,;      PATENT INFRINGEMENT AND
21   Ameriprise Financial Services, Inc., and       DECLARATORY JUDGMENT AND
     Aurea Software, Inc. a/k/a Aurea, Inc.,;       MEMORANDUM OF POINTS AND
22   Pacific Life Ins. Co; United HealthCare        AUTHORITIES
     Services, Inc.; Metropolitan Life Ins.
23   Co.; The Prudential Ins. Co. of America;        HEARING
     Wellmark, Inc.; Waddell & Reed
24   Financial, Inc.; and Aviva USA Corp.,           Date: March 18, 2014
25                     Defendants.                   Time: 10:00 a.m.
                                                     Location: Courtroom 5 – 4th Floor
26                                                   Judge: Hon. Paul S. Grewal
27

28


     MOTION TO DISMISS                                             CASE NO. 3:13-CV-05161 PSG
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 1                                        NOTICE OF MOTION
 2          To all parties and their counsel of record:
 3          Please take notice that on March 18, 2014, at 10:00 a.m. or as soon thereafter as the matter
 4   may be heard before the Honorable Paul. S. Grewal, in Courtroom 5 of the United States District
 5   Court of the Northern District of California, San Jose Division, located at 280 South 1st Street,
 6   San Jose, CA 95113, Defendants Pacific Life Ins. Co., Metropolitan Life Ins. Co., the Prudential
 7   Ins. Co. of America, Wellmark, Inc. and Aviva USA Corp. (“Defendants” or “Customers”)
 8   hereby move the court to dismiss Plaintiff XimpleWare Corp.’s claims of patent infringement and
 9   declaratory relief alleged in its Complaint.
10          Defendants seek an Order dismissing XimpleWare’s claims of patent infringement and
11   declaratory relief with prejudice. This motion is made on the grounds that XimpleWare fails to
12   state a claim upon which relief may be granted for patent infringement. This motion is made
13   pursuant to Fed. R. Civ. P. 12(b)(6) and L.R. 7-2 and is based on this Notice, the following
14   Memorandum of Points and Authorities, all other matters of which the Court takes judicial notice,
15   the court’s file in this matter, and any other evidence and argument as may be presented at the
16   hearing on the motion.
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                  INTRODUCTION
 3            Defendants Pacific Life Ins. Co., Metropolitan Life Ins. Co., the Prudential Ins. Co. of
 4   America, Wellmark, Inc. and Aviva USA Corp. (“Defendants” or “Customers”) have been
 5   accused of patent infringement by Plaintiff XimpleWare Corp. (“XimpleWare”) based on
 6   allegations that they purchased software from one or more of Versata Software, Inc., Trilogy
 7   Development Group, Inc. or Aurea Software, Inc., collectively referred to by XimpleWare as the
 8   “Versata Defendants”. Aside from being an obvious ploy to leverage a settlement with the
 9   Versata Defendants, XimpleWare’s claims are legally and factually deficient. XimpleWare offers
10   the use of its software to the world, for free, under an open-source license. Under the terms of
11   that license, which applies to Customers, there is no restriction on the use of the software. The
12   license only restricts the method by which a party may modify, copy or distribute the software.
13   Thus, XimpleWare’s claim that the Customers infringed the patents through their use of software
14   alleges only licensed activity.
15            In an attempt to avoid the fact that the Customers are licensed, XimpleWare amended its
16   complaint to add conclusory allegations, that as pled, fail to save its claims. XimpleWare has not
17   sufficiently alleged the Customers have engaged in any unlicensed activity under the terms of the
18   GPL license. 1 The additional allegations that XimpleWare added in the amended complaint
19   suffer from several defects.           First, XimpleWare engaged in group pleading and fails to
20   differentiate between Customers in its allegations.                Second, XimpleWare makes conclusory

21   allegations that are contradicted and improper.                  For example, in one of its allegations,

22   XimpleWare alleges that all of the defendants sell infringing products. See Dkt. 18 at ¶ 81. But

23   as is addressed more fully in the Versata Defendants’ Motion to Dismiss filed concurrently

24   herewith, XimpleWare does not identify any software product, other than DCM, that allegedly

25   infringes on the asserted patents. Yet, in its own complaint, XimpleWare accuses the Versata

26   1
       The Customers note that even if XimpleWare had complied with Form 18, which it has not, such compliance does
     not guarantee compliance with Rule 11 of the Federal Rules of Civil Procedure. Even if the Amended Complaint had
27   stated a plausible claim for patent infringement on its face, that would not have immunized XimpleWare as it has
     failed to identify easily ascertainable evidence of noninfringement through appropriate pre-suit investigation. K-Tech
28   Telecomms., Inv. v. Time Warner Cable, Inc., 714 F.3d 1277, 1285 (Fed. Cir. 2013).


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 1   Defendants of creating and distributing DCM to the Customers. In an attempt to manufacture an
 2   allegation of distribution, XimpleWare alleges that the Customers themselves distribute DCM –
 3   but this allegation is simply not pled with the sufficient factual particularity necessary to survive a
 4   motion to dismiss.       XimpleWare’s vague reference to “other products” that infringe is also not
 5   sufficiently specific.
 6           Finally, with respect to willful infringement, XimpleWare fails to allege any of the
 7   requisite facts necessary for a willfulness allegation. In fact, the sole allegation raised in the
 8   amended complaint is as follows:
 9           The Customer Defendants infringed and continue to willfully infringe the Patents
10           by using the infringing Versata Products, incorporated into the Customer
             Defendants’ internal software systems which the Customer Defendants used and
11           continue to use in their daily course of business. Dkt. 18 at ¶ 84.

12   That allegation is insufficient to survive a motion to dismiss under the relevant pleading
13   standards.
14
                                         FACTUAL BACKGROUND
15
             XimpleWare is a software company that distributes free software under the GNU General
16
     Public License (“GPL”). Dkt. 18 ¶¶ 23; 26. XimpleWare’s software performs the function of
17
     parsing XML documents. Dkt. 18 ¶¶ 16-21. Importantly, the GPL places no restrictions on the
18
     use of the software. Dkt. 18-1 (GPL) at 1. Instead, the GPL restricts a licensee’s rights to modify
19
     or distribute the software.      Dkt. 18-1 at 2. In the GPL’s own words: “activities other than
20
     copying, distribution and modification are not covered by this License…[t]he act of running the
21
     program is not restricted.” Dkt. 18-1 at 3. The GPL also provides that a party that receives a
22
     copy of the software automatically receives a license under the GPL as well. Dkt. 18-1 at 4. The
23
     GPL further makes clear that if a transferor of the software breaches the terms of the GPL, that
24
     breach does not affect the license of the transferee. Dkt. 18-1 at 3. In short, any use the
25
     Customers may make of XimpleWare is licensed, and the claims against the Customers must be
26
     dismissed.
27
             The Customers are not software companies, which XimpleWare itself acknowledges.
28


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 1   XimpleWare classifies United HealthCare Services, Inc. as a “diversified managed health care
 2   company”, Metropolitan Life Insurance Company as a” a global provider of insurance, annuities,
 3   and employment benefit programs”, The Prudential Insurance Company of America as providing
 4   “insurance and financial services”, Wellmark, Inc. as “an insurance company” and Aviva USA
 5   Corporation as “a multinational insurance company.” Dkt. 18 at ¶ 10, 11, 12, 13, and 14. For this
 6   reason alone XimpleWare’s allegation that the Customers make DCM, or make other software
 7   products that infringe is not only legally insufficient, it is factually highly implausible.
 8                                            ARGUMENT
            In order to survive a motion to dismiss, a claim must be supported by factual allegations.
 9

10   Ashcroft v. Iqbal, 556 U.S. 662, 678-9 (2009). Those facts must be sufficient to push the claims

11   “across the line from conceivable to plausible[.]”Ashcroft v. Iqbal, 556 U.S. at 680. Further, the

12   pleadings must contain sufficient “facts to state a claim to relief that is plausible on its face.” Bell
13
     Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A license, whether implied or express, is a
14
     defense to a claim of patent infringement. Carborundum Co. v. Molten Metal Equip. Innovations,
15
     Inc., 72 F.3d 872, 878 (Fed. Cir. 1995); Intel Corp. v. VIA Technologies, Inc., 174 F. Supp. 2d
16
     1038, 1055 (N.D. Cal. 2001) aff'd, 319 F.3d 1357 (Fed. Cir. 2003) (granting summary judgment
17

18   on license defense to patent infringement).        Here, because the Customers are licensed, and

19   because the allegations stated do not give rise to a plausible claim of patent infringement,
20   XimpleWare’s claims against the Customers must be dismissed.
21
                A. The Customers are Licensed.
22
            XimpleWare’s own Amended Complaint establishes that use is licensed under the terms
23
     of the GPL unless there is a failure to comply with the conditions of the GPL. Dkt. 18 at ¶ 39.
24
     XimpleWare alleges that the Customers received the XimpleWare software from the Versata
25

26   Defendants, who XimpleWare alleges received the software under the terms of the GPL. See

27   Dkt. 18 at ¶¶ 9; 11-13; 15; 62-63. The GPL provides that entities who receive the software

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 1   “automatically receive[] a license from the original licensor to copy, distribute or modify the
 2   Program subject to” the GPL. Dkt. 1-1 at 4. “[T]he act of running the program is not restricted”
 3
     by the GPL.        Id. at 2.     Therefore, under the terms of the GPL itself, and according to
 4
     XimpleWare’s Amended Complaint, each of the Customers is licensed.
 5
             XimpleWare attempts to paint the Customers’ use as outside of the license by improperly
 6

 7   alleging that it has “never granted …any other Defendant in this case any commercial license,

 8   permission, or authorization to use and redistribute any XimpleWare Product or Source Code.”

 9   Dkt. 18 at ¶ 73. As an initial matter, commercial activity is not automatically outside of the
10
     GPL. 2 But more importantly, XimpleWare need not itself grant a license to the Customers – a
11
     distributee like the Customers receives a license from the transferor “automatically” under the
12
     terms of the GPL. See Dkt. 18-1 at 4 (emphasis added). And, upon receiving the GPL license,
13
     any use of the software is not restricted, because the GPL does not restrict use. Even taking
14

15   XimpleWare’s allegation as true upon receipt of the software, the Customers became licensed to

16   use the software under the GPL. Further, neither receiving nor using XimpleWare is prohibited
17   by the terms of the GPL. Because the actions alleged are licensed, the infringement claim against
18
     the Customers must be dismissed. See Dkt.18 at ¶73; ¶84 (alleging use of XimpleWare).
19
                  B. Versata’s Alleged Breach of the GPL Does Not Extinguish the Customers’
20                   License to Use XimpleWare.
21           XimpleWare does not allege facts that would support allegations of impermissible

22   copying, distribution or modification by the Customers anywhere in the Amended Complaint.

23   Instead, the only attempts at factual allegations to that effect are directed to the Versata

24   Defendants and Ameriprise. Any alleged misconduct by the Versata Defendants does not limit or

25   extinguish the rights of the Customers to use XimpleWare. As the GPL makes clear, “parties

26   who have received copies or rights from you under the License will not have their licenses

27
     2
      “You may charge a fee for the physical act of transferring a copy, and you may at your option offer warranty
28   protective in exchange for a fee.” Dkt. 18, 1-1 at 1.


                                                              4
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 1   terminated so long as such parties remain in full compliance.” Dkt. 18-1 at 3. In other words, the
 2   actions of the transferor do not impact the rights of the transferee. Therefore, the Customers’
 3   rights as users of XimpleWare are not impacted by another’s allegedly improper modification,
 4   distribution or copying of the software. Under the facts alleged by XimpleWare, therefore, the
 5   Customers are licensed to use XimpleWare’s software under the GPL.
 6
                  C. XimpleWare’s Allegations of Breach of the GPL are Factually Insufficient.
 7

 8           In response to an initial Motion to Dismiss filed by Ameriprise (Dkt. No. 15),

 9   XimpleWare has amended its complaint to assert, without factual support, that the Customers’

10   own actions have led to termination of the GPL license through impermissible distribution or
11
     copying of the software. 3         XimpleWare’s assertions that the Customers somehow practiced
12
     XimpleWare’s patents, whether through use, distribution, copying or modification, are just that:
13
     naked assertions, devoid of supporting facts, and are therefore insufficient to survive a motion to
14
     dismiss.    See generally Realtime Data, LLC v. Stanley, 721 F. Supp. 2d 538, 543 (E.D. Tex.
15

16   2010) (commenting in the patent context that “[t]he Court has high expectations of a plaintiff's

17   preparedness before it brings suit”).
18           As an initial matter, XimpleWare’s allegations are insufficiently specific to survive
19
     dismissal for the independent reason that allegations against the Customers fail to identify which
20
     Customer, if any, engaged in which prohibited action. Automated Transaction LLC v. New York
21
     Cmty. Bank, 12-CV-3070 JS ARL, 2013 WL 992423 (E.D.N.Y. Mar. 13, 2013) (“Defendants
22

23   argue this “group pleading”—i.e., referring to both Defendants collectively as “Community”

24   rather than distinguishing between them—is impermissible and insufficient under both Form 18

25   and Rule 8. The Court agrees.”). Moreover, the allegations against this undefined group of
26
     3
       XimpleWare amended its complaint after Ameriprise filed a motion to dismiss asserting this license defense. See
27   Dkt. 18. In its Amended Complaint, XimpleWare added some factual allegation to support its claim that Ameriprise
     breached the GPL (although those factual assertions are unlikely to be sufficient). As to the Customers, XimpleWare
28   failed to even make an effort to allege any specific facts.


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 1   Defendants are also impermissibly conclusory and general.
 2          First, XimpleWare confusingly accuses all defendants, including the Customer
 3
     defendants, of “making, selling and using the DCM product.” Dkt. 18 at ¶73. As discussed
 4
     above, any use by the Customers is licensed under the GPL. However, the allegation that the
 5
     Customer defendants “make[]” or “sell[]” DCM is simply implausible. XimpleWare’s pleadings
 6

 7   only allege that Versata, and not any of the Customers, makes and sells the DCM product. See

 8   Dkt. 18 at ¶60-61 (describing “Versata’s DCM product,” which is licensed by Versata). The

 9   Customer defendants are clearly alleged to be customers of Versata. Dkt. 18 at ¶68. The claim
10
     that all Defendants impermissibly infringe because all Defendants make Versata’s DCM software
11
     must therefore be dismissed.
12
            Second, XimpleWare does not properly allege under Form 18 that any Customer makes,
13
     sells or offers for sale an identified product that improperly contains XimpleWare’s software. See
14

15   Dkt. 18 at ¶81 (“Defendants have infringed and continue to infringe…by making, using selling

16   and/or offering for sale …a number of products that practice the claims contained in the Patent”)
17   (emphasis added).    A plaintiff must “name[] and specifically identif[y] products or product
18
     components” to survive a motion to dismiss, not just say that “a number of products” may
19
     infringe. Bender v. LG Electronics U.S.A., Inc., C 09-02114 JF (PVT), 2010 WL 889541 (N.D.
20
     Cal. Mar. 11, 2010) (collecting authorities); Wistron Corp. v. Phillip M. Adams & Associates,
21
     LLC, C-10-4458 EMC, 2011 WL 4079231 (N.D. Cal. Sept. 12, 2011) (“Adams has referred to
22

23   infringement by “other products” without providing any further identification of such products.

24   This bare reference to “products” is clearly inadequate.”). The allegation of paragraph eighty-
25   one, alleging that Defendants make, use, sell and/or offer for sale “a number of products that
26
     practice the claims contained in the Patent” is legally insufficient under Form 18 and the
27
     allegation must be dismissed.
28


                                                     6
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 1            Third, XimpleWare has alleged that the Customers have “distributed…DCM and VTD-
 2   XML to thousands of non-employee independent contractors or franchisee advisors or
 3
     ‘producers’”. Dkt. 18 at ¶85. There is absolutely no basis, nor is any proffered, for this broad
 4
     allegation. Again, this allegation improperly groups Customers together without specifically
 5
     identifying which Customer is accused of taking which infringing action (and the Customers note
 6

 7   that “distributing” is not an infringing action). On this basis alone, this allegation must be

 8   dismissed. However, the allegation also fails to identify what distribution, in what form, and to

 9   whom, allegedly fails to comply with the GPL license which would render all recipients licensed
10
     users. Compare Dkt. 18 at ¶69-72 (alleging in detail Ameriprise’s improper distribution of the
11
     XimpleWare software but failing to offer any such facts with respect to the Customers). Further,
12
     the allegation itself is internally implausible because DCM is enterprise software and is not the
13
     kind of program that one installs on each machine in a company (as one would, for example, a
14

15   word processing program) or distributes to affiliates and independent agents. See Dkt. 18 at ¶85.

16                 D. XimpleWare Has Not Sufficiently Pled Willful or Knowing Infringement
17            XimpleWare has contended that Customers’ purported infringement was “knowing and
18
     willful” because “Defendants actually knew” that the program was the work of XimpleWare.
19
     Dkt. 18 at ¶87. 4         “Within the Northern District, to sufficiently plead a claim for willful
20
     infringement, a patentee must make out the barest factual assertion of knowledge of an issued
21
     patent…a mere “allegation of ‘actual knowledge,’ without more,” is not enough to state a claim
22

23   for willful infringement.” Robert Bosch Healthcare Sys., Inc. v. Express MD Solutions, LLC, C

24   12-00068 JW, 2012 WL 2803617 (N.D. Cal. July 10, 2012) (granting dismissal of claim for
25   willful infringement)(internal citations omitted).                XimpleWare pleads that only the Versata
26
     Defendants allegedly accessed the SourceForge project page indicating the program must be
27
     4
       These allegations also fail for the separate and independently sufficient ground that the allegations of willful
28   infringement do not identify customers individually but simply identify a group.


                                                                 7
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 1   licensed under the GPL, which itself contains no patent notices. Id. While XimpleWare alleges
 2   that Versata kept an internal note regarding XimpleWare’s license status, XimpleWare pleads no
 3
     facts that would support the inference that the Customers had access to Versata’s internal ledger,
 4
     or that that internal ledger contained any knowledge of the patents-in-suit. XimpleWare alleges
 5
     that Versata prevented its customers from learning of XimpleWare’s open source license status by
 6

 7   failing to include this information in its product code. Id. at ¶61. Such status has no relevance as

 8   to whether or not the product at issue was patented and XimpleWare never pleads that the

 9   Customers knew or should have known that VTD-XML was patented.                        Therefore, by
10
     XimpleWare’s own allegations, knowing infringement is not only implausible, it is impossible.
11
     In short, none of XimpleWare’s allegations regarding willful infringement rise to the level of
12
     detail required by Iqbal and Twombly and must be dismissed.
13
                E. XimpleWare is not Entitled to Declaratory Relief Against the Customers
14

15          XimpleWare’s claim against the Customers for patent infringement is barred because the

16   Customers are licensed, as demonstrated above. XimpleWare has also presented a claim for

17   declaratory relief, which is simply a rephrasing of its patent infringement claim. Based upon the
18   same unsound legal footing discussed above, the claim for declaratory relief must also be
19
     dismissed. Further, as pled, the declaratory relief claim does not relate to a case or controversy
20
     between the Customers and XimpleWare: because the Customers are licensees, none of the
21
     declarations requested involve the Customers at all. See Dkt. 18 (requesting the Court declare
22

23   each of the patents valid and enforceable). A case or controversy must exist to sustain an action

24   for declaratory relief. “For there to be a case or controversy under Article III, the dispute must be

25   “definite and concrete, touching the legal relations of parties having adverse legal interests,” “real
26
     and substantial,” and “admi[t] of specific relief through a decree of a conclusive character.”
27
     Prasco, LLC v. Medicis Pharm. Corp., 537 F.3d 1329, 1335-36 (Fed. Cir. 2008). Because a
28


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 1   licensee’s interests are not adverse where the licensor seeks to confirm its rights to act as the
 2   licensor by confirming the validity of its patents, the interests of the Customers and XimpleWare
 3
     are not adverse and no case or controversy exists.
 4

 5                                            CONCLUSION

 6          For the reasons discussed above, XimpleWare’s Amended Complaint against the

 7   Customer Defendants should be dismissed in its entirety. The court has broad discretion to deny

 8   a leave to amend where Plaintiff has previously amended the compliant. Fuzzysharp Techs. Inc.

 9   v. Nvidia Corp., 2013 U.S. Dist. LEXIS 126989 (N.D. Cal. 2013) citing Ascon Properties, Inc. v.

10   Mobile Oil Co., 866 F.2d 1449, 1160 (9th Cir. 1989). As Plaintiff has already amended its

11   Complaint once in response to a Motion to Dismiss pursuant to 12(b)(6), the Customer

12   Defendants respectfully request that the Court consider denying Plaintiff further leave to amend.

13

14

15   Dated: January 27, 2013              Respectfully Submitted,
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27                                        America, Wellmark, Inc., and Aviva USA Corp.
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                                       CERTIFICATE OF SERVICE
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               The undersigned hereby certifies that all counsel of record who are deemed to have
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 9   Dated: January 27, 2013                /s/ Alisa Lipski
                                            Alisa Lipski
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